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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE
 9    UNITED STATES OF AMERICA,
10                   Plaintiff,
11                                                             Case No. CR05-152L
             v.
12
                                                               ORDER CONTINUING PRETRIAL
      HUONG THANH NGUYEN,                                      MOTIONS DATE
13
                     Defendant.
14

15          This matter comes before the Court on “Defendant Huong Thanh Nguyen’s Motion to Continue

16   Pretrial Motions Date” (Dkt. # 92). The motion states that the parties hope to resolve this case through

17   plea negotiations. The motion also states that counsel for Defendant has consulted with Assistant United

18   States Attorney Patricia Lally and that she has no objections to this motion. IT IS HEREBY ORDERED

19   that Defendant’s motion to continue the pretrial motions date is GRANTED. IT IS FURTHER

20   ORDERED that the pretrial motions date shall be continued from Monday, September 19, 2005 until

21   Monday, October 3, 2005.

22          DATED this 27th day of September, 2005.

23

24                                                       A
                                                         Robert S. Lasnik
25                                                       United States District Judge
26

27    ORDER CONTINUING PRETRIAL
      MOTIONS DATE                                       1
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